Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 1 of 10

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: VIOXX® MDL Docket No. 1657

PRODUCTS LIABILITY LITIGATION SECTION L

Judge Eldon E. Fallon
Magistrate Judge Knowles
THIS DOCUMENT RELATES TO
PLAINTIFFS LISTED IN EXHIBIT A TO
MERCK “THIRD” MOTION TO DISMISS:

Agard, et al., v. Merck & Co. [David Agard, Case No.: 2:05-cv-01089
James Demoski]

Aljibory, et al., v. Merck & Co. [Viola Santacrose] Case No.: 2:05-cv-01090

Cavallo, et al., v. Merck & Co. [Matthew Cavallo] Case No.: 2:05-cv-01513

Core, etal. v. Merck & Co. [Richard Core] Case No.: 2:05-ev-02583

Gates, et al., v. Merck & Co. [Scott Berthel] Case No.: 2:05-cv-06221

Connolly, et al., v. Merck & Co. [Majorie Curtis, Case No.: 2:06-cv-02708
Kristine Hia, and Maurice Hoyt]

Kurtz v. Merck & Co. [Mary Kurtz] Case No.: 2:06-cv-05779
Dier, et al., v. Merck & Co. [Timothy Mack] Case No.: 2:05-cev-01088
Holobosky, et al., v. Merck & Co. [Ann Mannino] Case No.: 2:05-cv-01091
DuFresne v. Merck & Co., [Frank Spencer] Case No.: 2:08-cv-03220

PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
MOTION FOR RECUSAL OF THIS COURT

INTRODUCTION

Plaintiffs David Agard, James Demoski, Viola Santacrose, Marilyn Core
[Richard Core], Scott Berthel, Marjorie Curtis, Kristine Hia, Maurice Hoyt, Mary
Kurtz, Timothy Mack, Ann Marie Mannino, and Lori DuFresne [Frank Spencer], by
and through their counsel, Ronald R. Benj amin, move this Honorable Court for an
order granting its recusal pursuant to 28 U.S.C. § 455 (a) or (b)(1), and such other

and further relief as is just and proper, on the lgrounds that the Court appears to

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 2 of 10

have engaged in ex parte communications with counsel for defendant Merck & Co.,
Inc. (“Merck”), at a time when plaintiffs’ counsel was not present, and relied on other
. extrajudicial sources to develop derogatory information regarding plaintiffs’ counsel

that is being used to dismiss the plaintiffs’ cases.

STATEMENT OF FACTS

On October 29, 2009, counsel for the parties appeared before the Court for oral
argument on Merck’s motion to dismiss the cases of the twelve (12) plaintiffs noted in
the caption whose cases are pending before the Court which share the common
feature of being represented by Ronald R. Benjamin. A copy of the transcript of the
hearing is annexed to the motion as Plaintiffs’ Exhibit A.

At the opening of the hearing, this Court referred not only to a brief history of
the Vioxx litigation and PTO 28, but then, in reviewing Merck’s allegations

concerning the status of compliance with discovery requirements of PTO No. 28, this

Court stated:

Further, Merck argues that this noncompliance is consistent with the
general pattern of defiance and disregard for this Court’s orders; and,
actually, other court orders also since other courts in New Jersey and
elsewhere also required that this material be submitted, or materials
similar to this, and Mr. Benjamin failed to follow those orders.

In fact, in New Jersey, the court asked him to leave the court, or
certainly not sit with the other attorneys, since he was not only not in
compliance with following court orders, but he was not in compliance
with even making his appropriate appearance before that particular
court.

Pl. Ex. A, Transcript, at p. 6.

Although Merck did make broad, sweeping and self-serving accusations

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 3 of 10

against plaintiffs’ attorney in this litigation, Merck’s opening and reply memoranda
did not mention New Jersey, nor did Merck submit any such information into the
record that was before this Court, nor has there been any reported decision, nor any
normal periodical or publication available on what transpired in New Jersey.

It would appear that the New Jersey court information was derived in the
course of ex parte communication with defense counsel for Merck or other
extrajudicial source, since the proceedings referred to occurred before the judge
presiding over the New Jersey Vioxx cases, namely, the Honorable Carol Higbee, who
had denied counsel’s motion to appear pro hae vice for plaintiffs unrelated to the
actions of the twelve plaintiffs before this Court.

It is further submitted that, if this Court in fact engaged in such conduct, it
would provide a basis for inquiry into the question of whether or not PTO 28 was
written by Merck’s counsel, rather than this Court, particularly since it was issued by
this Court November 9, 2007, and is the basis for Merck seeking dismissal on the
motion presently before the Court under Rule 41 for failure to prosecute.

It cannot be disputed that the definitions sections in PTO 28 are identical to
the exclusion of the injuries set forth in the Master Settlement Agreement (MSA) also
announced on November 9, 2007. Yet, this Court has noted that the negotiations
leading up to the MSA were held with great secrecy, and further stated that it
“played no role in drafting the private settlement agreement.” December 10, 2008
Order and Reasons at page 6. Moreover, in its recent brief in the Fifth Circuit, Merck

has asserted that PTO 28 was “carefully calibrated” (see excerpt of Merck brief

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09. Page 4 of 10

annexed to motion as Plaintiffs’ Exhibit B, at p. 39), indicating Merck has direct
knowledge or participation in how PTO 28 was written.

According to Merck, PTO 28 gives Merck an indisputable enforcement
mechanism of dismissal of individual plaintiff cases for failure to make any
disclosures required, a clear litigation advantage to Merck against non-settling
plaintiffs, even those who had previously provided blank authorizations to Merck to
obtain their pharmacy and medical records well in advance of November 9, 2007. At
the same time, it is clear motions and decisions made subsequent to Merck’s payment
of $4.85 billion are distinctly different from the motion practice that took place prior
to that date.

After November 9, 2007, the Court appeared to accept the contentions of
defendant Merck observing, “both the Plaintiffs Steering Committee and Merck
contend that Mr. Benjamin is merely employing the same failed discovery tactics that
resulted in dismissal of his clients cases in the In re: Diet Drug Litigation.”)
December 10, 2008 Order and Reasons, p 9. n5. Neither Merck nor the Court
actually set forth facts to support that premise.

The fact that Benjamin has argued since November 9, 2007, and in fact
remains firmly convinced that the Plaintiffs’ Steering Committee was bought off by
Merck for an agreement to not oppose payment of $480 million in attorneys fees from
the $4.85 billion is not sanctionable conduct, whether characterized as discovery
abuse or any other impropriety that would warrant either sanction or admonition.

2Although there is no conduct on Benjamin’s part that is either sanctionable or

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 5 of 10

outside the ambit within which all counsel in our adversarial system must operate,
Merck has no qualms now once again castigating Benjamin and on the instant
motion asserts there is a “ failure to comply with the terms of PTO 28 as to the
specific plaintiffs is consistent with the general pattern of defiance and disregard for
this Court’s orders and authority that has been exhibited on behalf of Mr. Benjamin’s
clients in this MDL litigation”. Merck Reply Memorandum, p. 2.

Although it should be no surprise Merck will use whatever means available to
strip plaintiffs of their retained counsel, for this Court to issue its October 30, 2009
order directing Mr. Benjamin to meet and confer with counsel for Merck “in order to
determine how his submissions have failed to comply with the requirements of PTO
28 and to identify what must be produced to achieve compliance” and then to produce
those materials no later than December 13, 2009 or have the cases “dismissed with
prejudice” would appear to be clear and convincing evidence of bias in that the Court

‘pronounces judgment without a passing glance at the evidence or whether dismissal
is appropriate.

Although the Court has held no evidentiary hearing, plaintiffs have contended
they “met their disclosure requirements prior to the entry of PTO 28", which would
end the matter with regard to the discovery which is the subject matter of Merck's
motion. This Court not only pronounces judgment without affording plaintiffs, let
alone Mr. Benjamin notice and opportunity to be heard on the issues raised by Merck
which range from alleged lack of compliance with PTO 28 as to individual plaintiffs

and so-called general defiance of this Court’s orders and authority by Benjamin.

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 6 of 10

In response to the Court’s opening statements at the October 29 argument

date, plaintiffs’ counsel informed this Court that:
I think [d like to begin with the fact that it is virtuaily impossible to

respond to broad conclusory allegations, such as Your Honor referred to,

with regard to pattern of defiance or disregard, particularly in

connection with referring to the New Jersey courts, where I have not yet

even been admitted.

I do not know what information Merck provided Your Honor in

connection with what transpired in New Jersey, but there was a motion

for me to be admitted pro hac vice, and that is the only issue. As of

today, I have not been admitted.
Id., Transcript, p. 9. Merck’s motive in castigating Mr. Benjamin is obvious.
However, that this Court gives voice to ex parte or extrajudicial sources regarding the
' New Jersey court proceedings, in which none of these plaintiffs is involved and which
has nothing to do with their cases, evinces a bias against them and partiality for
Merck. Indeed, in framing the October 30, 2009 order in terms of compliance by Mr.
Benjamin rather than that of the plaintiffs, the Court appears to squarely place the
same in issue but does not appear to contemplate any evidentiary hearing with
regard to the same based on a bias against plaintiffs represented by Mr. Benjamin
that subjects them to dismissal of their cases due to broad, generalized statements of
alleged patterns.

At a hearing, plaintiffs would be able to test ludicrous statements made by
Merck such as, “from November 9, 2007 until August 21, 2009, only plaintiffs had the
ability to go out and collect the pharmacy and medical records. And PTO 28 imposed

upon plaintiffs the obligation to go out and do precisely that.” Merck reply

memorandum dated October 27, 2009, at p. 8, para. 8. Indeed, these arguments were

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 7 of 10

made for the first time in reply to plaintiff's opposition.

Plaintiffs can present proof that, in most of these cases prior to November 9,
2007, Merck not only obtained authorizations to secure pharmacy and medical
records, but that the same were sufficient to meet the plaintiffs’ discovery obligations,
that Merck in fact utilized the authorizations provided by plaintiffs to obtain records,
most importantly, that any alleged deficiencies in information available to Merck
stemmed from its own willful or negligent refusal to secure the same.

Plaintiffs now turn to their argument in support of recusal.

ARGUMENT

Under 28 U.S.C. §455(a), “Any justice, judge, or magistrate judge of the United
States shall disqualify himself in any proceeding in which his impartiality might
reasonably be questioned.” Under 28 U.S.C. §455(b)(1), a judge “shall also
disqualify himself... [w]here he has a personal bias or prejudice concerning a party,
or personal knowledge of disputed evidentiary facts concerning the proceeding.”

The Fifth Circuit has stated the rules generally applicable to motions for
recusal that are pertinent to the instant cases as follows:

A showing of potential bias by a judge against a party's attorney does
not generally suffice to require a judge to disqualify himself or herself

_ under § 455(a). Rather, the general rule, adopted in this and several
other circuits, is that “an appellate court, in passing on questions of
disqualification|[,] ... should determine the disqualification on the basis
of conduct which shows bias or prejudice or lack of impartiality by
focusing on a party rather than counsel.” Davis v. Board of Sch.
Comm'rs, 517 F.2d 1044, 1052 (5th Cir.1975); see FTC v. Amy Travel
Serv., Inc., 875 F.2d 564, 576 n. 13 (7th Cir.1989) (“Friction between
court and counsel does not constitute bias.”); In re Cooper, 821 F.2d 833,

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 8 of 10

838 (1st Cir.1987); Gilbert v. City of Little Rock, 722 F.2d 1390, 1399
(8th Cir.1983); United States v. Sibla, 624 F.2d 864, 869 (9th Cir.1980).

Trevino v. Johnson, 168 F.3d 173, 179 (5% Cir. 1999). However, the Fifth Circuit

went on to rule:

Bias against a party's attorney does not require disqualification unless
“it can also be shown that such a controversy would demonstrate a bias
for or against the party itself.” Henderson v. Department of Pub. Safety
& Corrections, 901 F.2d 1288, 1296 (5th Cir.1990) (citing Davis ); see
also In re Cooper, 821 F.2d at 839 (“Tt is true that occasionally
exceptional circumstances do arise where a judge's attitude toward a
particular attorney is so hostile that the judge's impartiality toward the
client may reasonably be questioned.”); In re Beard, 811 F.2d 818, 830
(4th Cir.1987) (“Bias against an attorney is not enough to require
disqualification under § 455 unless petitioners can show that such a
controversy would demonstrate a bias against the party itself.”).

Id., at 179-80. . In Liteky v. United States, 510 U.S. 540, 555 (1994), the Supreme

Court ruled that:

[O]pinions formed by the judge on the basis of facts introduced or events

occurring in the course of the current proceedings ... do not constitute a

basis for a bias or partiality motion unless they display a deep-seated

favoritism or antagonism that would make fair judgment impossible.
In the instant case, ex parte communications or extrajudicial sources of information
about plaintiffs’ counsel have been used, and continue to be used, to support outright
dismissal of the cases of non-settling plaintiffs he represents in this Vioxx litigation,
even when these plaintiffs had nothing to do with the Diet Drug Litigation or with
the New Jersey cases in which Mr. Benjamin was not admitted pro hac vice.

It is respectfully submitted that only this Court and Merck know their-roles in

crafting what Merck has referred to as the carefully calibrated PTO 28, particularly

with respect to the discovery requirements and the dismissal enforcement

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 9 of 10

mechanism. However, these twelve plaintiffs clearly allege circumstances
suggesting that a reasonable person would harbor doubts about this Court's
impartiality toward them, since it is clear that their cases are being dismissed based
on Merck’s sweeping generalizations about “patterns” that are not based on any
examination of the facts, namely, that these twelve plaintiffs have provided profile
forms and blank authorizations and expert reports, while Merck appears confident it
has no burden to explain why it made no effort to utilize the same prior to November
9, 2007, as was contemplated by this Court’s prior orders such as PTO 18. Instead,
this Court apparently agrees with Merck that it is entitled to a free pass because of
PTO 30's post hoc stay on discovery, even though Merck could have continued to use
the authorizations without running afoul of PTO 30.

Plaintiffs submit that the bias against them as non-settling litigants raised
here "stem|[s] from an extrajudicial source and result[s] in an opinion on the merits on
some basis other than what the judge learned from his participation in the case".

United States v. Clark, 605 F.2d 939, 942 (5 Cir. 1979) (per curiam). The

circumstances discussed above make even clearer the litigation advantages provided
to Merck under PTO 28 which appears to have been calibrated in conjunction with
the extrajudicial “secret” negotiations surrounding the MSA. No reasonable person
could ignore the coincidences of November 9, 2007, or the fact that PTO 28 is entirely
partial to Merck, or the fact that these non-settling plaintiffs’ attorney is being
labeled defiant and noncompliant to bolster Merck’s claimed right to dismissal under

PTO 28's draconian enforcement mechanism regardless of the applicable facts and

Case 2:05-md-01657-EEF-DEK Document 28675-1 Filed 12/03/09 Page 10 of 10

Joint Legis. Comm. on Perf. & Expenditure Rev. of the State of Miss., 637 F.2d 1014,

1021 (5" Cir. 1981)), of which they are members, namely, non-settling plaintiffs who
want to go to trial rather than settle.

With all due deference, this Court’s October 30 order and comments about
plaintiffs’ attorney in matters outside this proceeding show partiality towards Merck
and deep-seated bias and antagonism towards the non-settling plaintiffs, and would
cause a reasonable person to question this Court’s impartiality, particularly with

respect to PTO 28, thus requiring recusal.

- CONCLUSION

ee

Plaintiffs respectfully submit that this Court should enter an order recusing or
disqualifying itself in their cases, along with such other and further relief as is just
and proper under the circumstances.

Respectfully submitted,

Neral (ery —

RONALD R. BENJAMIN Fed/No. 110131
LAW OFFICE OF RONALD R. BENJAMIN
126 Riverside Drive, P O. Box 607
Binghamton, New York 13902-0607
607/772-1442

Attorneys for Plaintiffs in Above-Captioned Actions

